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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

FRESNO DIVISION
In re Case No. 05-17886-B-7
Dean Clifton Marshall, Jr., DC No. SJS-l
Debtor. )

 

MEMORANDUM DECISION REGARDING CREDITOR’S APPLICATION
FOR ALLOWANCE OF ADMINISTRATIVE CLAIM AND
OBJECTION TO TRUSTEE’S FINAL REPORT

This memorandum decision is not approved for publication and may not be cited
except when relevant under the doctrlne of law of the case or the rules of res
judicata and clalm precluslon.

_ Susan J. Salehi, Esq., appeared on behalf of creditor/applicant, Teresa Marshall.

T. Scott Belden, Esq., appeared on behalf of the chapter 7 trustee, Randell Parker.
Before the court is a motion by Teresa Marshall (“Teresa”) seeking the
allowance of an administrative claim (the “Motion”). Teresa’s motion is the basis
for her objection to the chapter 7 trustee’s final report. Teresa incurred legal fees in
the successful prosecution of an adversary proceeding against her former husband,
the debtor Dean Clifton Marshall (the “Debtor”). The legal services were provided
by Susan J. Salehi, Esq. (“Salehi”). As a direct result of the adversary proceeding
(No. 06-1101: the “Adversary Proceeding”), the Debtor was denied a general
discharge under § 727(a)(4)(A).l As an indirect result of the Adversary Proceeding,

 

lUnless otherwise indicated, all chapter, section and rule references are to the Bankmptcy

Code, ll U.S.C. §§ 101-1330, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-
903 6, as enacted and promulgated before October l7, 2005, the effective date of The Bankruptcy
Abuse Prevention and Consumer Protection Act of 2005, Pub. L. 109-8, Apr. 20, 2005, 119 Stat.
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the chapter 7 trustee, Randall Parker (the “Trustee”) recovered a nominal amount of
money for the unsecured creditors. Teresa now contends that her prosecution of the
Adversary Proceeding substantially benefitted the estate and she seeks to have her
legal fees treated as an administrative expense pursuant to § 503(b)(4). The Trustee
opposes the Motion on various grounds, including Teresa’s failure to obtain prior
court approval to prosecute the Adversary Proceeding for the benefit of the estate.
For the reasons set forth below, the Motion will be denied and the final report will -
be approved.

This memorandum decision contains the court’s findings of fact and
conclusions of law required by Federal Rule of Civil Procedure 52 (made applicable
to this adversary proceeding by Federal Rule of Bankruptcy Procedure 7052). The
court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and §§ 523 and
727 and General Orders 182 and 330 of the U.S. District Court for the Eastern
District of California. This is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(A)-
BACKGROUND AND FINDINGS OF FACT.

The specific facts and conclusions of law relating to the Adversary
Proceeding were stated in a Memorandum Decision filed in the Adversary
Proceeding on February 1, 2008, and need not be fully repeated here. The essential
facts relevant to the issue at hand are as follows: Teresa is the Debtor’s former
spouse and a creditor of the bankruptcy estate following dissolution of their
marriage in the state court. Through a settlement agreement negotiated in the
dissolution action, the Debtor was allowed to keep numerous family assets,
including a valuable gun collection and a substantial pension. In return, the Debtor
agreed to pay various community debts totaling approximately $36,000. Soon after
conclusion of the dissolution action, the Debtor filed this chapter 7 bankruptcy
petition and sought a discharge of those community debts. As a result of the

settlement in the dissolution action, Teresa had a claim against the Debtor. Teresa

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timely filed the Adversary Proceeding to (1) determine dischargeability of her claim
against the Debtor, and (2) object to the Debtor’s general discharge.2

Teresa alleged in the Adversary Proceeding, inter alia, that the Debtor
concealed many of the assets retained in the dissolution action and made a false oath
in his schedules. After a trial in the Adversary Proceeding, the court found that the
Debtor did knowingly and fraudulently conceal material non-exempt assets and
therefore made a false oath connected with the case. Teresa’s request for additional
relief under § 523(a)(2)(A) was denied.3 Judgment was entered against the Debtor
denying his discharge on February 1, 2008, and the Adversary Proceeding was
closed a few days later. On March 3, 2008, Teresa filed a one-page proof of claim
for an unsecured debt in the amount of $10,200 for “attorney fees due to bankruptcy
fraud filing.”

Teresa contends that she provided the Trustee with information regarding the
undisclosed assets at the § 341 meeting of creditors. However, the Trustee failed to
pursue the assets and filed a “no asset” report.4 After the court found that the
Debtor had omitted significant non-exempt assets from his schedules, the Trustee
filed a “notice of assets” and a motion to compel the Debtor to turn those assets over
to the estate. Eventually, the Trustee, through his attorney, negotiated a compromise
with the Debtor which was subsequently approved by the court. Based on the
compromise, the Debtor paid the sum of $20,000 to the estate.5

 

2For some reason, Teresa sought relief under § 523(a)(2)(A) (fraud in the negotiation of

the marital settlement agreement) and 727(a)(4) (failure to disclose the family assets retained in
the dissolution action). She did not seek relief under § 523(a)(15) which applies directly to
obligations incurred pursuant to a court order in a marital dissolution action,

3The fraud claim was denied because Teresa failed to prove that she had been damaged by

the alleged fraud.

' 4'l`eresa did not object to the “no asset” report.
5'l`eresa did not object to the proposed compromise and it was approved on June 12, 2008.

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On April 1, 2009, the Trustee filed a Final Report and Proposed Distribution.
After payment of administrative expenses, the Trustee will pay $8,861.89 to
unsecured creditors, including Teresa on the basis of her proof of claim; a 17.17%
distribution Teresa objected to the Final Report, contending that her attorney’s fees
should be treated as an administrative expense. On April 14, 2009, Teresa amended
her proof of claim to change the status to “priority” based on § 507(a)(2):
“administrative expenses allowed under section 503(b) of this title, and any fees and
charges assessed against the estate under chapter 123 of title 28.” The single-page
document contained no other changes and no supporting documentation On May
21, 2009, Teresa brought this Motion requesting that her proof of claim for
attomey’s fees be allowed and given administrative priority pursuant to § 507(a)(2).
If Teresa’s claim for $10,200 is allowed administrative priority, the estate will
become administratively insolvent; the existing administrative claims will receive
less than full payment and the unsecured creditors will receive nothing.

ISSUE PRESENTED.

This court must decide if there is any basis upon which Teresa’s claim for
attorney’s fees can, and should, be given priority as an administrative expense. The
gravamen of Teresa’s argument is that, but for her efforts in prosecuting the
Adversary Proceeding, the bankruptcy estate would have recovered nothing. Teresa
provided information to the Trustee to show that the Debtor had failed to disclose
material assets; the Trustee filed a report of no assets; Teresa then filed the
Adversary Proceeding and established that the Debtor had concealed property of the
estate; and based thereon, the Trustee recovered money from the Debtor for the
benefit of the estate.

The Trustee objects to the Motion on several grounds, including timeliness,
reasonableness of the attorney’s fees, and failure to seek court approval prior to
prosecuting the Adversary Proceeding. lt is uncontroverted that Teresa did not

obtain prior court approval to pursue the Adversary Proceeding and she has offered

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no explanation for the failure to do so.
ANALYSIS AND CONCLUSIONS OF LAW.

Under appropriate circumstances, the legal fees and expenses incurred by a
creditor to recover assets for the bankruptcy estate may be treated as administrative
expenses pursuant to § 503(b)(3)(B) and § 503(b)(4). An administrative expense
allowed under § 503(b) is entitled to priority distribution pursuant to § 507(a)(2).
Teresa bears the burden of proving her entitlement to an administrative expense.
Tex. Compt. of Pub. Accounts v. Megafooa's Stores, Inc. (In re Megafooa’s Stores,
Inc.), 163 F.3d 1063, 1071 (9th Cir. 1998).

Sections 503(b)(3)(B) and 503(b)(4).

Section 503(b)(3)(B) provides for the administrative treatment of expenses
incurred by a creditor, other than attorney ’sfees. It states in pertinent part:

Afte_r notice and a hearing, there shall be allowed,

administrative expenses . . . including . . . . the actual,

necessary expenses, other than compensation and

reimbursement [ of attorney ’s fees ] specified in

paragraph (4) of this subsection, incurred by - a

creditor that recovers, after the court ’s approval, for the

benefit of the estate any pro erty transferred or

concealed by the debtor. ( mphasis added).
Teresa’s claim fails to qualify for treatment under § 503(b)(3)(B) for two reasons.
First, her proof of claim does not itemize any expenses whatsoever, much less
expenses which the court could determine might be “actual” and “necessary.”
Second, Teresa did not seek court approval to incur any expenses for the benefit of
the estate.6

For Teresa’s attomey’s fees, the court must look to section 503(b)(4). This

section provides for administrative treatment of “reasonable compensation for

 

6Teresa cites § 503(b)(1)(A) for the proposition that prior court approval is not required

for an administrative claim. Section 505(b)(1)(A) offers administrative priority for actual and
necessary expenses incurred to preserve an asset of the estate. However, as the court in In re
Canton Jubilee, Inc., 253 B.R. 770, 779 (Bankr.E.D.Tex. 2000) stated, "it is clear that

§ 503(b)(1)(A) cannot serve as a basis for awarding fees to professionals."

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professional services rendered by an attorney . . . of an entity whose expense is
allowable under [ § 503(b)(3)(B)] . . . .” (emphasis added). Thus, a predicate for the
allowance of attorney’s fees under § 503(b)(4) is the creditor’s eligibility for the
reimbursement of expenses under § 503(b)(3)(B). A statutory predicate for
eligibility under § 503(b)(3)(B) is “prior court approval.” Teresa did not seek prior
court approval to prosecute the Adversary Proceeding for the benefit of the estate,
she prosecuted it for her own benefit. By the express terms of the statute, her claim
cannot be allowed as an administrative expense and is not eligible for priority
treatment.7
Bankruptcy courts in the Ninth Circuit have strictly applied the “prior

approval” requirement The court in In re Fall, 93 B.R. 1003, 1013 (Bankr.D.Or.,
1988) described the legislative history of § 503(b)(3)(B) and noted that the
precursor of the section did not specifically require prior court approval.

When Congress passed § 503Sb)(3) it followed case law

developed under [predecessor §)64(a)(1) which

recognized the necessity of esta lishing a mechanism to

assure that efforts are not duplicative and costs are not

excessive and counterproductive. A minority of courts

has allowed explenses under § 503(b3(3}where prior

court approval as not been obtaine . his court

believes that because the statutory mandate of

§503(b)(3)(B) is clear and, more importantly, because it

views early court control as wise, it will not allow

expenses under that subsection without prior court

approval Id. (emphasis added).

In the case, In re Cent. Idaho Forest Prods., 317 B.R. 150 (Bankr.D.Idaho,

2004), creditors applied for priority treatment of legal fees incurred in the

prosecution of pre-petition litigation. Their efforts produced the only assets for the

 

7The court acknowledges the holding in Law Offi`ces of Neil Vincent Wake vs. Sedona
Inst. (In re Sedona Inst.), 220 B.R. 74 (9th Cir. BAP 1998), however the issue on appeal was
specifically limited to the question of whether eligible expenses were a prerequisite to an award
of attorney’s fees. Id at 76-7. The court addressed § 503(b)(4) eligibility in terms of having
compensable expenses under § 503(b)(3), and did not address the § 503(b)(3)(B) eligibility
requirement of prior approval.

 

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bankruptcy estate. There were no objections to the motion and the trustee supported
the request based on the applicant’s “significant contribution to the estate.” Id. at
153. The court acknowledged the applicant’s contribution. However, the court
countered, “But the fact that a benefit was conferred on or received by the estate
does not alone or automatically justify allowance of an administrative expense. The
request must instead be evaluated and determined under the applicable provisions of
the Bankruptcy Code.” Id. at 154. Notwithstanding the lack of any objection to the
application, the court refused to take the “easy route.” Id. at 154. The court was
compelled to deny the application for the lack of prior court approval as required by
§ 503I(b)(3)(B). Id. at 159.

Here, even if Teresa had obtained prior approval to prosecute the Adversary
Proceeding, the court Would not be able to grant the relief requested in the Motion.
Teresa had the burden to prove that “any expenses were actually incurred and
necessary and any fees are reasonable.” In re Fall, 93 B.R. at 1012. Teresa failed
to sustain that burden of proof. Teresa offered no records for the court’s

consideration The single-page proof of claim was devoid of any documentation and

"l`eresa submitted no breakdown of her costs or legal fees. Unlike the creditors in

Cent. Idaho Forest Prods., Teresa did not directly recover any assets for the estate;
she simply established their existence and laid a foundation for the Trustee to
demand their turnover. The services rendered by Salehi during the course of the
Adversary Proceeding necessarily involved far more than the identification and
location of undisclosed assets, the services for which the estate arguably benefitted
The Adversary Proceeding involved numerous factual and legal issues relevant to
the Debtor’s right to a discharge. It would be illogical for the court to assume,
without any supporting documentation, that all of Salehi’s attomey’s fees were
actually, reasonably, or necessarily, expended in the location and recovery of assets
for the benefit of the estate.

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“Extraordinarv Circumstances” Standard for Retroactive Apnroval.

Notwithstanding the statutory requirement for “prior approval,” as addressed
above, some courts have recognized that it may be appropriate to give court
approval retroactively When a creditor produces a substantial benefit for the
bankruptcy estate without seeking prior approval. See Xifaras v. Morad (In re
Morad), 328 B.R. 264, 271 (lst. Cir. BAP 2005) (applying the test for “retroactive”
employment of professionals under § 327 (a)). In the Ninth Circuit, nunc pro tunc
employment of a professional may be approved upon a showing of “[E]xceptional
circumstances where an applicant can show both a satisfactory explanation for the
failure to receive prior judicial approval and that he or she has benefited the
bankruptcy estate in some significant manner.” In re Atkins, 69 F.3d 970, 975 (9th
Cir. 1995), quoting Okamoto v. THC Fin. Corp. (In re THC Fin. Corp.), 837 F.Zd
389, 392 (9th Cir. 1989) (internal citations omitted).

Here, Teresa has not presented any explanation whatsoever for waiting until
the eleventh hour to present a request for administrative priority treatment of her
attorney’s fees. If she was truly frustrated by the Trustee’s failure to take action
against the Debtor after the meeting of creditors, she could have asked the court for
permission to pursue assets for the estate before she filed the Adversary Proceeding.
However, the point of the Adversary Proceeding was not to recover assets for the
estate, it was to protect Teresa from the consequences of a discharge of the Debtor’s
obligation under the marital settlement agreement In that regard, Teresa has
already received the full benefit of her efforts. In this case it was particularly
important to seek court approval because the amount of Teresa’s claim would render
this estate administratively insolvent Had the Trustee known that Teresa was going
to submit a substantial administrative claim, leaving the estate administratively
insolvent, the Trustee would have had no practical reason to pursue the turnover of

assets in the first place.

 

 

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CONCLUSION.

Based on the foregoing, the court finds and concludes that Teresa is not
statutorily eligible for administrative treatment of her attomey’s fees because she
did not request prior approval to prosecute the Adversary Proceeding for the benefit
of the estate. Further, she provided no information in her claim, or in her Motion,
upon which the court could base a determination as to the reasonableness and
necessity of the fees and expenses she incurred. Finally, she has not shown
“extraordinary circumstances” upon which nunc pro tunc relief could be granted.
Accordingly, the Motion will be denied. The Trustee’s final report will be

approved.

Dated: August j ,2009 M

W. Richard Lee
United States Bankruptcy Judge

